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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                           CASE NO.:

  GRACE ANGELO,
  on behalf of the NCLC 401(k) Plan, herself,
  and all others similarly situated,

         Plaintiff,
  v.

  NCL CORPORATION LTD, and
  NCL (BAHAMAS) LTD., A BERMUDA
  COMPANY,

        Defendants.
  ____________________________________/

                                CLASS ACTION COMPLAINT

         On behalf of the NCLC 401(k) Plan (“Plan”), Named Plaintiff Grace Angelo, (“Plaintiff”),

  files this Class Action Complaint against NCL Corporation LTD, (“NCL Corp.” or the

  “Company”), and the Plan’s administrator, NCL (BAHAMAS) LTD., a Bermuda Company

  (“NCL Bahamas”) (collectively “NCL” or “Defendants”), for breaching their fiduciary duties in

  violation of the Employee Retirement Income Security Act, 29 U.S.C. §§1001–1461 (“ERISA”).

                                      BRIEF OVERVIEW

         1.      This is a class action brought pursuant to §§ 409 and 502 of the Employee

  Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. § 1109 and 1132, against

  Defendants, the Plan’s fiduciaries, during the Class Period defined below, for breaches of their

  fiduciary duties.

         2.      Defined contribution retirement plans, like the Plan, confer tax benefits on

  participating employees to incentivize saving for retirement. According to the Investment
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  Company Institute, Americans held $7.9 trillion in all employer-based defined contribution

  retirement plans as of March 31, 2020, of which $5.6 trillion was held in 401(k) plans. See

  INVESTMENT COMPANY INSTITUTE, Retirement Assets Total $28.7 Trillion in First Quarter

  2020 (June 17, 2020).

         3.      In a defined contribution plan, “participants’ retirement benefits are limited to the

  value of their own individual investment accounts, which is determined by the market performance

  of employee and employer contributions, less expenses.” Tibble v. Edison Int’l, 575 U.S. 523

  (2015). Because all risks related to high fees and poorly performing investments are borne by the

  participants, the employer has little incentive to keep costs low or to closely monitor the Plan to

  ensure every investment remains prudent.

         4.      To safeguard Plan participants and beneficiaries, ERISA imposes strict fiduciary

  duties of loyalty and prudence upon employers and other plan fiduciaries. 29 U.S.C. § 1104(a)(1).

  These twin fiduciary duties are “the highest known to the law.” Sweda v. Univ. of Pennsylvania,

  923 F.3d 320, 333 (3d Cir. 2019). Fiduciaries must act “solely in the interest of the participants

  and beneficiaries,” 29 U.S.C. § 1104(a)(1)(A), with the “care, skill, prudence, and diligence” that

  would be expected in managing a plan of similar scope. 29 U.S.C. § 1104(a)(1)(B).

         5.      Because retirement savings in defined contribution plans grow and compound over

  the course of the employee participants’ careers, poor investment performance and excessive fees

  can dramatically reduce the amount of benefits available when the participant is ready to retire.

  Over time, even small differences in fees and performance compound and can result in vast

  differences in the amount of savings available at retirement. As the Supreme Court has explained,

  “[e]xpenses, such as management or administrative fees, can sometimes significantly reduce the




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  value of an account in a defined-contribution plan.” Tibble v. Edison Int’l, 135 S. Ct. 1823, 1825

  (2015).

            6.    The impact of excessive fees on employees’ and retirees’ retirement assets is

  dramatic. The U.S. Department of Labor has noted that a 1% higher level of fees over a 35-year

  period makes a 28% difference in retirement assets at the end of a participant’s career. U.S. Dep’t

  of Labor, A Look at 401(k) Plan Fees, p. 2 (September, 2019).

            7.    The Named Plaintiff is a Plan participant. As of December 31, 2020, the Plan had

  $218,255,089 in assets and 2,357 participants with account balances as of the end of the plan year.

  Instead of leveraging the Plan’s tremendous bargaining power to benefit participants and

  beneficiaries, Defendants chose poorly performing investments, inappropriate, high-cost mutual

  fund share classes, and caused the Plan to pay unreasonable and excessive fees for recordkeeping

  and other administrative services.

            8.    Plaintiff has standing to bring this action on behalf of the Plan because she

  participated in the Plan and was injured by Defendants’ unlawful conduct. Plaintiff is entitled to

  receive benefits in the amount of the difference between the value of their account currently, or as

  of the time her accounts was distributed, and what her accounts is or would have been worth, but

  for Defendants’ breaches of fiduciary duty as described herein.

            9.    For purposes of this Complaint, Plaintiff has drawn reasonable inferences regarding

  these processes based upon several factors.

            10.   For example, Defendants failed to adhere to fiduciary best practices to control Plan

  costs when looking at certain aspects of the Plan’s administration such as monitoring investment

  management fees for the Plan’s investments, resulting in several funds during the Class Period

  being more expensive than comparable funds found in similarly sized plans. .




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         11.     To the extent that Defendants made any attempt to reduce the Plan’s expenses or to

  prudently monitor and review the Plan’s investment options, Defendants employed flawed and

  ineffective processes, which failed to ensure that: (a) the fees and expenses charged to Plan

  participants were reasonable, and (b) that each investment option that was offered in the Plan was

  prudent.

         12.     Defendants’ mismanagement of the Plan constitutes a breach of the fiduciary duty

  of prudence in violation of 29 U.S.C. § 1104. Defendants’ actions (and omissions) were contrary

  to actions of a reasonable fiduciary and cost the Plan and its participants millions of dollars.

                                   JURISDICTION AND VENUE

         13.     This Court has exclusive jurisdiction over the subject matter of this action under 29

  U.S.C. §1132(e)(1) and 28 U.S.C. §1331 because it is an action under 29 U.S.C. §1132(a)(2) and

  (3).

         14.     This judicial District is the proper venue for this action under 29 U.S.C. §1132(e)(2)

  and 28 U.S.C. §1391(b) because it is the district in which the Plan is administered, and where at

  least one of the alleged breaches took place.

                                              THE PLAN

         15.     The Plan is a qualified retirement plan commonly referred to as a 401(k) plan.

         16.     The Plan is established and maintained under written documents in accordance with

  29 U.S.C. §1102(a)(1).

         17.     More specifically, the Plan is a “defined contribution” or “individual account” plan

  within the meaning of ERISA § 3(34), 29 U.S.C. § 1002(34).

         18.     Eligible current and former employees of NCL are eligible to participate in the Plan.

  The Plan provides the primary source of retirement income for many former NCL employees. The




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  ultimate retirement benefit provided to participants depends on the performance of investment

  options chosen for the Plan by Defendants.

          19.     In theory, Defendants determine the appropriateness of the Plan’s investment

  offerings, monitors investment performance, and reviews total plan and fund costs each year.

                                            THE PARTIES

                                          Plaintiff & Standing

          20.     Named Plaintiff Grace Angelo is a participant in the Plan under 29 U.S.C. §1002(7)

  because she and her beneficiaries are or may become eligible to receive benefits under the Plan.

          21.     In terms of standing, §1132(a)(2) allows recovery for a “plan” and does not provide

  a remedy for individual injuries distinct from plan injuries. Here, the Plan suffered millions of

  dollars in losses caused by Defendants’ fiduciary breaches.

          22.     The Plan continues suffering economic losses, and those injuries may be redressed

  by a judgment of this Court in favor of Plaintiff and the Plan. The Plan is the victim of any fiduciary

  breach and the recipient of any recovery. Id. at 254.

          23.     Section 1132(a)(2) authorizes any participant to sue derivatively as a representative

  of the plan to seek relief on behalf of the plan. 29 U.S.C. §1132(a)(2). As explained in detail below,

  the Plan suffered millions of dollars in losses caused by Defendants’ fiduciary breaches and it

  remains exposed to harm and continued losses, and those injuries may be redressed by a judgment

  of this Court in favor of Plaintiff.

          24.     To the extent the Plaintiff must also show an individual injury even though

  §1132(a)(2) does not provide redress for individual injuries, Plaintiff has standing to bring this

  action on behalf of the Plan because they participated in the Plan and were injured by Defendants’

  unlawful conduct.




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         25.     To establish standing, the Plaintiff need only show a constitutionally adequate

  injury flowing from those decisions or failures. The Plaintiff alleges such an injury for each claim.

         26.     More specifically, the Plaintiff has standing because the challenged conduct,

  including Defendants’ actions resulting in Plaintiff and the class members paying excessive

  recordkeeping and administrative fees, affected all Plan participants in the same way.

         27.     For example, the Named Plaintiff’s individual accounts in the Plan suffered losses

  because each participant’s account was assessed an excessive amount for recordkeeping and

  administrative fees, which would not have been incurred had Defendants discharged their fiduciary

  duties to the Plan and reduced those fees to a reasonable level.

         28.     Not only that, the Named Plaintiff and all participants in the Plan suffered financial

  harm as a result of the imprudent options in the Plan because Defendants’ inclusion of those

  imprudent options deprived participants of the opportunity to grow their retirement savings by

  investing in prudent options with reasonable fees, which would have been available in the Plan if

  Defendants had satisfied their fiduciary obligations. All participants continue to be harmed by the

  ongoing inclusion of these imprudent options and payment of excessive recordkeeping fees.

         29.     Additionally, the Plaintiff has standing as to Defendants’ imprudent selection and

  retention of the poor-performing, expensive, and imprudent funds identified herein, because the

  Plaintiff invested in at least one of the funds. Thus, the Named Plaintiff and each putative class

  member suffered a concrete injury traceable to Defendants’ imprudent actions.

         30.     Moreover, the Plaintiff’s individual accounts in the Plan were harmed because they

  invested in investment options that would have been removed from the Plan had Defendants

  discharged their fiduciary duties. These investment options underperformed numerous prudent

  alternatives that were available to the Plan, resulting in a loss of retirement savings.




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         31.      As a result of Defendants’ actions, the Plaintiff and class members are entitled to

  restitution in the amount of the difference between the value of their account currently, or as of the

  time their accounts were distributed, and what their accounts are or would have been worth, but

  for Defendants’ breaches of fiduciary duty as described herein.

                                                  Defendants

         32.      Defendant NCL (BAHAMAS) LTD., a Bermuda Company is the Plan sponsor and

  a fiduciary of the Plan within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A),

  because: (a) it is a named fiduciary under the Plan, (b) during the Class Period, it exercised

  discretionary authority and control over Plan management and/or authority or control over

  management or disposition of Plan assets.

         33.      Defendant NCL Corporation LTD, is a fiduciary to the Plan because it exercised

  discretionary authority or discretionary control respecting the management of the Plan or exercised

  authority or control respecting the management or disposition of its assets and has discretionary

  authority or discretionary responsibility in the administration of the Plan. 29 U.S.C.

  §1002(21)(A)(i) and (iii).

                                 Additional Information on the Plan

         34.      The Plan, established January 1, 1989, is a defined contribution and profit-sharing

  401(k) plan.

         35.      The Plan is subject to the provisions of the Employee Retirement Income Security

  Act of 1974, as amended (ERISA).

         36.      Prudential Retirement Insurance and Annuity Company is currently the Plan’s

  recordkeeper.




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         37.       The Plan’s assets are held by Prudential Bank & Trust FSB and participant accounts

  are maintained by Prudential Bank & Trust FSB.

         38.       NCL employees can participate in the Plan after completing three months of

  employment.

         39.       Participants may contribute, subject to certain limitations, up to a maximum of

  100% of pretax annual compensation. Each individual’s participant contributions were limited to

  $19,500 in 2020. An additional catch-up contribution up to $6,500 was allowed for employees

  aged 50 and over.

         40.       From January 1, 2020 through March 31, 2020, the Defendant NCL Bahamas

  contributed an amount equal to 100% of the participants’ eligible contributions of the first 3% and

  50% of the participants’ eligible contributions greater than 3% up to 10%. On April 1, 2020, the

  Defendant NCL Bahamas amended the plan document to make the employer match contributions

  discretionary.

         41.       In addition, Defendant NCL Bahamas was able to make discretionary supplemental

  contributions to the Plan, which would be allocated to each eligible participant on a pro-rata basis

  based on the compensation of the participant to the total compensation of all participants. For the

  year ended December 31, 2020, Defendant NCL Bahamas did not elect to make discretionary

  matching or supplemental contributions.

                         Exhaustion of Administrative Remedies is Complete

         42.       On July 19, 2022, Plaintiff sent an Administrative Exhaustion Demand Letter to the

  Plan Administrator. The Administrative Exhaustion Demand Letter set forth Plaintiff’s claims and

  included a request for relief on her own behalf, and on behalf of the entire putative class.




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              43.   In response, by emailed letter dated August 25, 2022, Counsel for the Defendant

  confirmed stated that Plaintiff’s administrative claim was forwarded to the Retirement Plans

  Investment Committee for consideration and an appropriate response in accordance with the Plan’s

  administrative claims procedure. To date, the Retirement Plans Investment Committee has not

  provided any response. Thus, Plaintiff has exhausted her administrative remedies, those of the

  putative class members, and the Plan as a whole. Further efforts to exhaust administrative

  remedies would, thus, be futile.

                                   CLASS ACTION ALLEGATIONS

              44.   Plaintiff brings this action as a class action pursuant to Fed. R. Civ. P. 23 on behalf

      of themselves and the following proposed class (“Class”): 1

                    All persons, except Defendants and their immediate family
                    members, who were participants in or beneficiaries of the Plan, at
                    any time between September 4, 2016, and the present (the “Class
                    Period”).
              45.   The members of the Class are so numerous that joinder of all members is

      impractical. According to the 2020 Form 5500 filed with the U.S. Department of Labor, there

      were 2,357 participants with account balances as of the end of the plan year as of December 31,

      2020.

              46.   Plaintiff’s claims are typical of the claims of the members of the Class. Like other

      Class members, Plaintiff participated in the Plan and has suffered injuries because of Defendants’

      mismanagement of the Plan. Defendants treated Plaintiff consistently with other Class members

      and managed the Plan as a single entity. Plaintiff’s claims and the claims of all Class members




  1
   Plaintiff reserves the right to propose other or additional classes or subclasses in their motion for
  class certification or subsequent pleadings in this action.


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   arise out of the same conduct, policies, and practices of Defendants as alleged herein, and all

   members of the Class have been similarly affected by Defendants’ wrongful conduct.

         47.       There are questions of law and fact common to the Class, and these questions

   predominate over questions affecting only individual Class members. Common legal and factual

   questions include, but are not limited to:

                   A.     Whether Defendants are fiduciaries of the Plan;

                   B.     Whether Defendants breached their fiduciary duty of prudence by
                          engaging in the conduct described herein;

                   C.     Whether Defendants failed to adequately monitor other fiduciaries
                          to ensure the Plan was being managed in compliance with ERISA;

                   D.     The proper form of equitable and injunctive relief; and

                   E.     The proper measure of relief.

         48.       Plaintiff will fairly and adequately represent the Class and has retained counsel

   experienced and competent in the prosecution of ERISA class action litigation. Plaintiff has no

   interests antagonistic to those of other members of the Class. Plaintiff is committed to the vigorous

   prosecution of this action and anticipate no difficulty in the management of this litigation as a

   class action.

         49.       This action may be properly certified under Fed. R. Civ. P. 23(b)(1). Class action

   status in this action is warranted under Fed. R. Civ. P. 23(b)(1)(A) because prosecution of separate

   actions by the members of the Class would create a risk of establishing incompatible standards of

   conduct for Defendants. Class action status is also warranted under Fed. R. Civ. P. 23(b)(1)(B)

   because prosecution of separate actions by the members of the Class would create a risk of

   adjudications with respect to individual members of the Class that, as a practical matter, would




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   be dispositive of the interests of other members not parties to this action, or that would

   substantially impair or impede their ability to protect their interests.

         50.     In the alternative, certification under Fed. R. Civ. P. 23(b)(2) is warranted because

   the Defendants have acted or refused to act on grounds generally applicable to the Class, thereby

   making appropriate final injunctive, declaratory, or other appropriate equitable relief with respect

   to the Class as a whole.

    DEFENDANTS’ FIDUCIARY STATUS AND OVERVIEW OF FIDUCIARY DUTIES

         51.     ERISA requires every covered retirement plan to provide for one or more named

   fiduciaries who will have “authority to control and manage the operation and administration of

   the plan.” ERISA § 402(a)(1), 29 U.S.C. § 1102(a)(1).

         52.     ERISA treats as fiduciaries not only persons explicitly named as fiduciaries under

   § 402(a)(1), 29 U.S.C. § 1102(a)(1), but also any other persons who in fact perform fiduciary

   functions. Thus, a person is a fiduciary to the extent: “(i) he exercises any discretionary authority

   or discretionary control respecting management of such plan or exercise any authority or control

   respecting management or disposition of its assets, (ii) he renders investment advice for a fee or

   other compensation, direct or indirect, with respect to any moneys or other property of such plan,

   or has any authority or responsibility to do so, or (iii) he has any discretionary authority or

   discretionary responsibility in the administration of such plan.” ERISA § 3(21)(A)(i), 29 U.S.C.

   § 1002(21)(A)(i).

         53.     As described above, Defendants were (and still are) fiduciaries of the Plan because:

                 A.        they were so named; and/or

                 B.        they exercised authority or control respecting management or
                           disposition of the Plan’s assets; and/or




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                 C.        they exercised discretionary authority or discretionary control
                           respecting management of the Plan; and/or

                 D.        they had discretionary authority or discretionary responsibility in
                           the administration of the Plan.

         54.     As fiduciaries, Defendants were/are required by ERISA § 404(a)(1), 29 U.S.C. §

   1104(a)(1), to manage and administer the Plan, and the Plan’s investments, solely in the interest

   of the Plan’s participants and beneficiaries and with the care, skill, prudence, and diligence under

   the circumstances then prevailing that a prudent person acting in a like capacity and familiar with

   such matters would use in the conduct of an enterprise of a like character and with like aims.

   These twin duties are referred to as the duties of loyalty and prudence, and they are “the highest

   known to the law.” Sweda, 923 F.3d at 333.

         55.     The duty of loyalty requires fiduciaries to act with an “eye single” to the interests

   of plan participants. Pegram v. Herdrich, 530 U.S. 211, 235 (2000) (internal citations omitted).

   “Perhaps the most fundamental duty of a [fiduciary] is that he [or she] must display…complete

   loyalty to the interests of the beneficiary and must exclude all selfish interest and all consideration

   of the interests of third persons.” Id. at 224 (quotation marks and citations omitted).

         56.     “Thus, in deciding whether and to what extent to invest in a particular investment,

   a fiduciary must ordinarily consider only factors relating to the interests of plan participants

   and beneficiaries in their retirement income. A decision to make an investment may not be

   influenced by non-economic factors unless the investment, when judged solely on the basis of its

   economic value to the plan, would be equal or superior to alternative investments available to

   the plan.” U.S. Dep’t of Labor ERISA Adv. Op. 88-16A, 1988 WL 222716, at *3 (Dec. 19, 1988)

   (emphasis added).




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         57.     In effect, the duty of loyalty includes a mandate that the fiduciary display complete

   loyalty to the beneficiaries and set aside the consideration of third persons. See In re WorldCom,

   Inc., 263 F. Supp. 2d 745, 758 (S.D.N.Y. 2003) (“An ERISA fiduciary must ‘conduct a careful

   and impartial investigation’ of the merits and appropriate structure of a plan investment.”)

   (quoting Flanigan v. Gen. Elec. Co., 242 F.3d 78, 86 (2d Cir. 2001)).

        58.      ERISA also “imposes a ‘prudent person’ standard by which to measure fiduciaries’

  investment decisions and disposition of assets.” Fifth Third Bancorp v. Dudenhoeffer, 573 U.S.

  409 (2014) (quotation omitted). In addition to a duty to select prudent investments, under ERISA

  a fiduciary “has a continuing duty to monitor [plan] investments and remove imprudent ones” that

  exist in a plan, which is “separate and apart from the [fiduciary’s] duty to exercise prudence in

  selecting investments.” Tibble, 575 U.S. 523. “[A] fiduciary cannot free himself from his duty to

  act as a prudent man simply by arguing that other funds...could theoretically, in combination,

  create a prudent portfolio.” In re Am. Int'l Grp., Inc. ERISA Litig. II, No. 08 CIV. 5722 LTS KNF,

  2011 WL 1226459, at *4 (S.D.N.Y. Mar. 31, 2011) (quoting DiFelice v. U.S. Airways, Inc., 497

  F.3d 410, 418 n.3, 423–24 (4th Cir. 2007)).

        59.      In addition, ERISA § 405(a), 29 U.S.C. § 1105(a) (entitled “Liability for breach by

  co-fiduciary”) provides:

         [I]n addition to any liability which he may have under any other provision of this
         part, a fiduciary with respect to a plan shall be liable for a breach of fiduciary
         responsibility of another fiduciary with respect to the same plan in the following
         circumstances: (A) if he participates knowingly in, or knowingly undertakes to
         conceal, an act or omission of such other fiduciary, knowing such an act or omission
         is a breach; (B) if, by his failure to comply with section 404(a)(1), 29 U.S.C.
         §1104(a)(1), in the administration of his specific responsibilities which give rise to
         his status as a fiduciary, he has enabled such other fiduciary to commit a breach; or
         (C) if he has knowledge of a breach by such other fiduciary, unless he makes
         reasonable efforts under the circumstances to remedy the breach.




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        60.      During the Class Period, Defendants did not act prudently or in the best interests of

  the Plan’s participants. Investment options chosen for a plan should not favor the fund provider

  over the plan’s participants. Yet, here, to the detriment of the Plan and their participants and

  beneficiaries, the Plan’s fiduciaries included and retained in the Plan many investment options that

  were more expensive than necessary and otherwise were not justified based on their economic

  value to the Plan.

        61.      Based on reasonable inferences from the facts set forth in this Complaint, during

  the Class Period Defendants failed to have a proper system of review in place to ensure that

  participants in the Plan were being charged appropriate and reasonable fees for each of the Plan’s

  investment options. Additionally, Defendants failed to leverage the size of the Plan to negotiate

  the lowest expense ratio available for certain investment options maintained and/or added to the

  Plan during the Class Period. Defendants also caused the Plan and its participants to pay excessive

  administration fees and excessive compensation to service providers.

        62.      As set forth in detail below, Defendants breached fiduciary duties to the Plan and

  its participants and beneficiaries, and are, therefore, liable for their breaches under 29 U.S.C. §§

  1104(a)(1) and 1105(a).

                                    SPECIFIC ALLEGATIONS

       Improper Management of the Plan Cost the Plan’s Participants Millions in Savings

        63.      Under 29 U.S.C. § 1104(a)(1), a plan fiduciary must provide diversified investment

  options for a defined-contribution plan while also giving substantial consideration to the cost of

  those options. “Wasting beneficiaries’ money is imprudent. In devising and implementing

  strategies for the investment and management of trust assets, trustees are obligated to minimize

  costs.” Uniform Prudent Investor Act (the “UPIA”) § 7.




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        64.      “The Restatement … instructs that ‘cost-conscious management is fundamental to

  prudence in the investment function,’ and should be applied ‘not only in making investments but

  also in monitoring and reviewing investments.’” Tibble v. Edison Int'l, 843 F.3d 1187, 1197–98

  (9th Cir. 2016) (quoting Restatement (Third) of Trust § 90, cmt. b). See also U.S. Dep’t of Labor,

  A Look at 401(k) Plan Fees, at 2 (Aug. 2013) (“You should be aware that your employer also has

  a speciﬁc obligation to consider the fees and expenses paid by your plan ... Employers are held to

  a high standard of care and diligence and must discharge their duties solely in the interest of the

  plan participants and their beneﬁciaries.”). 2

        65.      Higher fees of only 0.18% to 0.4% can have a large effect on a participant’s

  investment results over time because “[b]eneficiaries subject to higher fees for materially identical

  funds lose not only the money spent on higher fees, but also ‘lost investment opportunity’; that is,

  the money that the portion of their investment spent on unnecessary fees would have earned over

  time.” Tibble, 843 F.3d at 1198.

        66.      Most participants in 401(k) plans expect that their 401(k) accounts will be their

  principal source of income after retirement. “The 401(k) is the major source people think they are

  going to rely on.” 3 Although at all times 401(k) accounts are fully funded, that does not prevent

  plan participants from losing money on poor investment choices of plan sponsors and fiduciaries,

  whether due to poor performance, high fees, or both.

        67.      Indeed, the Department of Labor has stated that employers are held to a “high

  standard of care and diligence” and must both “establish a prudent process for selecting investment



  2
    Available at: https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-
  center/publications/a-look-at-401k-plan-fees.pdf (last visited June 24, 2022).
  3
    Brandon, Emily, “10 Essential Sources of Retirement Income,” (May 6, 2011), available at:
  https://money.usnews.com/money/retirement/slideshows/10-essential-sources-of-retirement-
  income (last visited June 24, 2022).


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  options and service providers” and “monitor investment options and service providers once

  selected to see that they continue to be appropriate choices,” among other duties. See “A Look at

  401(k) Plan Fees,” supra.

         68.     The duty to evaluate and monitor fees and investment costs includes fees paid

  directly by plan participants to investment providers, usually in the form of an expense ratio or a

  percentage of assets under management within a particular investment. See Investment Company

  Institute (“ICI”), The Economics of Providing 401(k) Plans: Services, Fees, and Expenses, at 4

  (July 2016). 4 “Any costs not paid by the employer, which may include administrative, investment,

  legal, and compliance costs, effectively are paid by plan participants.” Id. at 5.

         69.     The fiduciary task of evaluating investments and investigating comparable

  alternatives in the marketplace is made much simpler by the advent of independent research from

  services like Morningstar, which categorizes funds to “help investors and investment professionals

  make meaningful comparisons between funds. The categories make it easier to build well-

  diversified portfolios, assess potential risk, and identify top-performing funds. [Morningstar] place

  funds in a given category based on their portfolio statistics and compositions over the past three

  years.” 5

         70.     Thus, prudent and impartial plan fiduciaries should continuously monitor both the

  performance and cost of the investments selected for their 401(k) plans, as well as investigating

  alternatives in the marketplace to ensure that well-performing, low-cost investment options are

  being made available to plan participants.




  4
   Available at: https://www.ici.org/pdf/per22-04.pdf (last visited September 4, 2022).
  5
   Available at http://www.morningstar.com/InvGlossary/morningstar_category.aspx (last visited
  September 4, 2022).


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    Defendants Breached Their Fiduciary Duties by Selecting More Expensive Share Classes
                    Instead of Low-Cost Share Classes of the Same Funds

        71.      The Supreme Court reaffirmed the ongoing fiduciary duty to monitor a plan’s

  investment options in Tibble, 575 U.S. 523. In Tibble, the Court held that “an ERISA fiduciary’s

  duty is derived from the common law of trusts,” and that “[u]nder trust law, a trustee has a

  continuing duty to monitor trust investments and remove imprudent ones.” Id. at 1828. In so

  holding, the Supreme Court referenced with approval the Uniform Prudent Investor Act (“UPIA”),

  treatises, and seminal decisions confirming the duty.

        72.      The UPIA, which enshrines trust law, recognizes that “the duty of prudent investing

  applies both to investing and managing trust assets....” Tibble, 575 U.S. 523 (quoting Nat’l

  Conference of Comm’rs on Uniform State Laws, Uniform Prudent Investor Act § 2(c) (1994)).

  The official comment explains that “‘[m]anaging embraces monitoring, that is, the trustee’s

  continuing responsibility for oversight of the suitability of investments already made as well as the

  trustee’s decisions respecting new investments.” Id. § 2 comment.

        73.      Under trust law, one of the responsibilities of the Plan’s fiduciaries is to “avoid

  unwarranted costs” by being aware of the “availability and continuing emergence” of alternative

  investments that may have “significantly different costs.” Restatement (Third) of Trusts ch. 17,

  intro. note (2007); see also Restatement (Third) of Trusts § 90 cmt. B (2007) (“Cost-conscious

  management is fundamental to prudence in the investment function.”). Adherence to these duties

  requires regular performance of an “adequate investigation” of existing investments in a plan to

  determine whether any of the plan’s investments are “improvident,” or if there is a “superior

  alternative investment” to any of the plan’s holdings. Pension Ben. Guar. Corp. ex rel. St. Vincent

  Catholic Med. Centers Ret. Plan v. Morgan Stanley Inv. Mgmt. Inc., 712 F.3d 705, 718–19 (2d

  Cir. 2013).



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           74.   During the Class Period, Defendants failed to prudently monitor the Plan to

  determine whether the Plan was invested in the lowest-cost share class available for the Plan’s

  mutual funds, which are identical to the mutual funds in the Plan in every way except for their

  lower cost.

           75.   The chart below contains a non-exhaustive illustration of expensive share classes

  offered by the Plan during the Class Period and the available lower-cost share classes for the same

  funds:

   Fund in Plan            Expense Ratio            Lower Cost Share Net Expense Ratio
                                                    Class of Same Fund

          Oakmark                  1.05%                      Oakmark                .75%
     International Fund                                  International R6 –
         Investor –                                           OAZIX
          OAKIX
     Oakmark Investor               .91%             Oakmark Fund R6 –               .63%
      Class – OAKMX                                        OAZMX
       T. Rowe Price               1.11%                T. Rowe Price                .97%
     Emerging Markets                                 Emerging Markets
        Stock Price –                                Stock Fund I Class –
          PRMSX                                             PRZIX
      SIA Target Date               .60%               SIA Target Date               .45%
     Fund 2025 Class 2                                Fund 2025 Class 1
      SIA Target Date               .60%               SIA Target Date               .45%
     Fund 2030 Class 2                                Fund 2030 Class 1
      SIA Target Date               .60%               SIA Target Date               .45%
     Fund 2035 Class 2                                Fund 2035 Class 1
      SIA Target Date               .60%               SIA Target Date               .45%
     Fund 2040 Class 2                                Fund 2040 Class 1
      SIA Target Date               .60%               SIA Target Date               .45%
     Fund 2045 Class 2                                Fund 2045 Class 1
      SIA Target Date               .60%               SIA Target Date               .45%
     Fund 2050 Class 2                                Fund 2050 Class 1
      SIA Target Date               .61%               SIA Target Date               .46%
     Fund 2055 Class 2                                Fund 2025 Class 1
      SIA Target Date               .61%               SIA Target Date               .46%
     Fund 2060 Class 2                                Fund 2055 Class 1




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   Fund in Plan             Expense Ratio            Lower Cost Share Net Expense Ratio
                                                     Class of Same Fund

    Vanguard Mid-Cap                .050%              Vanguard Mid-Cap               .040%
   Index Fund Admiral–                                    Index Fund
         VIMAX                                           Institutional –
                                                            VMCIX

        76.      As the table above illustrates, throughout the Class Period Defendants should have

  known of the existence and availability of lower-cost share classes of identical funds and should

  have promptly transferred the Plan’s investments in such funds to the prudent share classes.

  However, Defendants failed to do so in a prudent manner.

        77.      Qualifying for lower share classes sometimes requires a minimum investment in

  individual funds. However, these minimums are waived for retirement plans like the Plan here. In

  any event, in most instances the Plan qualified for the lower cost share classes but is paying for

  higher cost share classes. Plan assets are being needlessly wasted and retirement savings frittered

  away. This is a classic breach of ERISA’s fiduciary duty of prudence.

        78.      A prudent fiduciary conducting an impartial review of the Plan’s investments would

  have identified the cheaper share classes available and transferred the Plan’s investments in the

  above-referenced funds into institutional shares at the earliest opportunity. Yet, despite the

  availability of lower-cost shares, Defendants did not transfer Plan holdings in any of these funds

  from higher-priced share classes into the lowest-cost institutional share classes, in breach of their

  fiduciary duties.

        79.      There is no good-faith explanation for utilizing a high-cost share class when a

  lower-cost share class is available for the exact same investment. This is akin to causing Plan

  participants to pay $3 million for an investment when the same investment is available for $1

  million. The entire purpose of ERISA’s prudence standards is to avoid this type of imprudence.




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  The Plan did not receive any additional services or benefits based on its selection of more

  expensive share classes; the only consequence was higher costs for Plan participants.

                            Defendants Failed to Monitor or Control the
                         Plan’s Recordkeeping and Administrative Expenses

        80.      The term “recordkeeping” is a catchall term for the suite of administrative services

  typically provided to a defined contribution plan by the plan’s “recordkeeper.” Beyond simple

  provision of account statements to participants, it is quite common for the recordkeeper to provide

  a broad range of services to a defined contribution plan as part of its package of services. These

  services can include claims processing, trustee services, participant education, managed account

  services, participant loan processing, Qualified Domestic Relations Order (“QDRO”) processing,

  preparation of disclosures, self-directed brokerage accounts, investment consulting, and general

  consulting services.

        81.      Nearly all recordkeepers in the marketplace offer this range of services, and defined

  contribution plans can customize the package of services they receive and have the services priced

  accordingly. Many of these services can be provided by recordkeepers at very little cost. In fact,

  several of these services, such as managed account services, self-directed brokerage, QDRO

  processing, and loan processing are often a profit center for recordkeepers.

        82.      The market for recordkeeping is highly competitive, with many vendors equally

  capable of providing a high-level service. As a result of such competition, vendors vigorously

  compete for business by offering the best price.

        83.      The cost of providing recordkeeping services depends on the number of participants

  in a plan. Plans with large numbers of participants can take advantage of economies of scale by

  negotiating a lower per-participant recordkeeping fee. Because recordkeeping expenses are driven

  by the number of participants in a plan, most plans are charged on a per-participant basis.



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         84.     Recordkeeping expenses can either be paid directly from plan assets, or indirectly

  by the plan’s investments in a practice known as revenue sharing (or a combination of both).

  Revenue sharing payments are derived from investments within the plan, typically mutual funds,

  to the plan’s recordkeeper or to the plan directly, to compensate for recordkeeping and trustee

  services that the mutual fund company otherwise would have to provide.

         85.     Utilizing a revenue sharing approach is not per se imprudent. Plaintiff is not making

  a claim against Defendants merely because they used revenue sharing to pay recordkeeping fees.

         86.     However, when revenue sharing is left unchecked, it can be devastating for Plan

  participants. “At worst, revenue sharing is a way to hide fees. Nobody sees the money change

  hands, and very few understand what the total investment expense pays for. It is a way to milk

  large sums of money out of large plans by charging a percentage-based fee that never goes down

  (when plans are ignored or taken advantage of). In some cases, employers and employees believe

  the plan is ‘free’ when it is in fact expensive.” Justin Pritchard, “Revenue Sharing and Invisible

  Fees.” 6

         87.     Because revenue sharing payments are asset based, they bear no relation to a

  reasonable recordkeeping fee and can provide excessive compensation. Again, it is important to

  emphasize that fees obtained through revenue sharing are tethered not to any actual services

  provided to the Plan; but rather, to a percentage of assets in the Plan and/or investments in mutual

  funds in the Plan. As the assets in the Plan increase, so too increases the recordkeeping fees that

  Capital Research pockets from the Plan and its participants. One commentator likened this fee

  arrangement to hiring a plumber to fix a leaky gasket but paying the plumber not on actual work




  6
    Available at: http://www.cccandc.com/p/revenue-sharing-and-invisible-fees (last visited
  September 4, 2022).


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  provided but based on the amount of water that flows through the pipe. If asset-based fees are not

  monitored, the fees skyrocket as more money flows into the Plan.

        88.      It is well-established that plan fiduciaries have an obligation to monitor and control

  recordkeeping fees to ensure that such fees remain reasonable. See, e.g., Tussey v. ABB, Inc., 746

  F.3d 327, 336 (8th Cir. 2014) (“Tussey II”) (holding that fiduciaries of a 401(k) plan “breach[]

  their fiduciary duties” when they “fail[] to monitor and control recordkeeping fees” incurred by

  the plan). Excessive expenses “decrease [an account’s] immediate value” and “depriv[es] the

  participant of the prospective value of funds that would have continued to grow if not taken out in

  fees.” Sweda, 923 F.3d at 328. No matter the method of payment or fee collection, the fiduciary

  must understand the total amount paid the recordkeeper and per-participant fees and determine

  whether pricing is competitive. See Tussey II, 746 F.3d at 336. Thus, defined contribution plan

  fiduciaries have an ongoing duty to ensure that the recordkeeper’s fees are reasonable.

        89.      Prudent fiduciaries implement three related processes to prudently manage and

  control a plan’s recordkeeping costs. First, they must closely monitor the recordkeeping fees being

  paid by the plan. A prudent fiduciary tracks the recordkeeper’s expenses by demanding documents

  that summarize and contextualize the recordkeeper’s compensation, such as fee transparencies, fee

  analyses, fee summaries, relationship pricing analyses, cost-competitiveness analyses, and multi-

  practice and stand-alone pricing reports.

        90.      Second, in order to make an informed evaluation as to whether a recordkeeper or

  other service provider is receiving no more than a reasonable fee for the services provided to a

  plan, a prudent fiduciary must identify all fees, including direct compensation and so-called

  “indirect” compensation through revenue sharing being paid to the plan’s recordkeeper. To the

  extent that a plan’s investments pay asset-based revenue sharing to the recordkeeper, prudent




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  fiduciaries closely monitor the amount of the payments to ensure that the recordkeeper’s total

  compensation from all sources does not exceed reasonable levels and require that any revenue

  sharing payments that exceed a reasonable level be returned to the plan and its participants.

        91.      Third, the plan’s fiduciaries must remain informed about overall trends in the

  marketplace regarding the fees being paid by other plans, as well as the recordkeeping rates that

  are available. This will generally include conducting a Request for Proposal ("RFP") process at

  reasonable intervals, and immediately if the plan’s recordkeeping expenses have grown

  significantly or appear high in relation to the general marketplace. More specifically, an RFP

  should happen at least every three to five years as a matter of course, and more frequently if the

  plans experience an increase in recordkeeping costs or fee benchmarking reveals the

  recordkeeper’s compensation to exceed levels found in other, similar plans. George v. Kraft Foods

  Global, Inc., 641 F.3d 786, 800 (7th Cir. 2011); Kruger v. Novant Health, Inc., 131 F. Supp. 3d

  470, 479 (M.D.N.C. 2015).

        92.      Defendants failed to prudently manage and control the Plan’s recordkeeping costs

  by failing to undertake any of the aforementioned steps.

        93.      More specifically, Prudential Retirement Insurance and Annuity Company has been

  the Plan’s recordkeepers during the entirety of the Class Period.

        94.      Upon information and belief Defendants have failed to undertake an RFP during

  the class period. If Defendants had undertaken an RFP to compare Prudential Retirement Insurance

  and Annuity Company’s costs with those of others in the marketplace, Defendants would have

  recognized that Prudential Retirement Insurance and Annuity Company’s compensation for

  recordkeeping services during the Class Period has been (and remains) unreasonable and

  excessive.




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        95.      From 2016 to 2020 the direct annual recordkeeping per participant compensation

  that Prudential Retirement Insurance and Annuity Company received from Plan participants was

  as follows:

                                 Year               Direct Recordkeeping
                                                       Compensation
                                  2016                      $43.10

                                  2017                     $46.18

                                  2018                     $22.04

                                  2019                     $80.41

                                  2020                     $75.68


        96.      By comparison to other plans, the recordkeeping fees are excessive and

  unreasonably high. For instance, the 401k Averages Book (20th ed. 2020), examined

  recordkeeping fees for plans with less $200 million in assets (i.e., substantially smaller than the

  Plan), and demonstrated that as plans increase in size the costs of recordkeeping generally decrease

  on a per participant basis—a classic example of economies of scale. But here the opposite is

  happening. As Plan assets increase so are recordkeeping fees.

        97.      A plan with 200 participants and $20 million in assets, the average recordkeeping

  and administration cost (through direct compensation) is $12 per participant. 401k Averages Book

  at 95. A plan with 2,000 participants and $200 million in assets, the average recordkeeping and

  administration cost (through direct compensation) is $5 per participant. Id. at 108. Defendants

  caused Plan participants to pay excessive fees.

        98.      Moreover, Prudential Retirement Insurance and Annuity Company did not receive

  only the direct compensation set forth above—it received far more compensation for

  recordkeeping and other administrative services through revenue sharing payments. Such revenue


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  sharing payments are particularly problematic because they are asset-based, and they usually bear

  no relation to a reasonable recordkeeping fee. Rather, in large plans, like this one, revenue sharing

  often results in excessive compensation, especially like here, when high-priced funds are included

  as plan investment options.

        99.      As one industry expert has noted: “If you don’t establish tight control, the growth

  of your plan’s assets over time may lead to higher than reasonable amounts getting paid to service

  providers. This is because most revenue sharing is asset-based. If a recordkeeper’s workload is

  about the same this year as last, why should they get more compensation just because the market

  had a big year and inflated the asset base? In a large plan, this phenomenon can lead to six figure

  comp bloat over time. That’s bad for plan participants and bad for fiduciaries.” Jim Phillips, (b)est

  Practices: What Do You Know About Revenue Sharing?, PLANSPONSOR.com (June 6, 2014).

        100.     Another problem is that “revenue sharing is not equivalent among all funds; some

  funds pay no revenue sharing and others pay different revenue-sharing rates. The issue then arises

  that it may not be fair for some participants to pay a higher expense ratio because revenue sharing

  is built in. Another concern is that plan participants who invest in more expensive, revenue-sharing

  funds are bearing a disproportionate amount of the plan’s administrative costs compared with their

  coworkers who have chosen funds without revenue sharing.” Jennifer DeLong, Coming to Grips

  with Excess Revenue Sharing, Context, The AllianceBernstein Blog on Investing (June 2014). 7

  Thus, prior to the Class Period, AllianceBernstein noted, “the prevalence of revenue sharing is

  decreasing as more plans rethink their strategies for making plan fees more transparent.” Id.




  7
    Available at: https://blog.alliancebernstein.com/post/en/2014/06/coming-to-grips-with-excess-
  revenue-sharing (last visited September 4, 2022).



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         101.     As recognized prior to the Class Period, the best practice is a flat price based on the

  number of participants in a plan, which ensures that the amount of compensation will be tied to

  the actual services provided and that the recordkeeping fees will not fluctuate or change based

  upon, e.g., an increase in assets in the plan.

         102.     The Plan’s total expenses for recordkeeping reveals the true extent of Defendants’

  fiduciary breaches. The total amount of recordkeeping fees (both through direct and indirect

  payments) currently is at least $150 per participant annually (or more), when a reasonable fee

  ought to be no more than $25 per participant annually.

         103.     As noted above, some plans pay recordkeepers fees in addition to direct

  compensation in the form of revenue sharing. Here, the Plan paid Prudential Retirement Insurance

  and Annuity Company a fortune in direct and indirect compensation for recordkeeping services

  throughout the Class Period.

         104.     The recordkeeping fees are far greater than recognized reasonable rates for a plan

  with more than $200 million in assets. Given the growth and size of the Plan’s assets during the

  Class Period, in addition to the general trend towards lower recordkeeping expenses in the

  marketplace as a whole, the Plan could have obtained recordkeeping services that were comparable

  to superior to the typical services that would have been provided to the Plan by Prudential

  Retirement Insurance and Annuity Company. Prudential Retirement Insurance and Annuity

  Company performs task for the Plan such as validating payroll data, tracking employee eligibility

  and contributions, verifying participant status, recordkeeping, and information management

  (computing, tabulating, data processing, etc.)

         105.     The services that Prudential Retirement Insurance and Annuity Company provided

  were nothing out of the ordinary, and a prudent fiduciary would have observed the excessive fees




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  being paid to the recordkeepers and taken corrective action. Defendants’ failure to monitor and

  control recordkeeping compensation cost the Plan millions of dollars during the Class Period and

  constituted a breach of the duty of prudence.

        106.     Looking at recordkeeping costs for other plans of a similar size as of 2019 shows

  that the Plan was paying higher recordkeeping fees than its peers – an indication the Plan’s

  fiduciaries failed to appreciate the prevailing circumstances surrounding recordkeeping and

  administration fees. The chart below analyzes a few well managed plans having tens of thousands

  of participants with billions of dollars in assets under management, like the Plan:

                             Total                               Total     Recordkeeping
                          Number of       Dollar Value         Reported         and
        Name of Plan      Participants    of Plan Assets    Recordkeeping Administrative
                                                                 and        Service Costs
                                                            Administrative    on a Per-
                                                             Service Costs   Participant
                                                                               Basis 8
        The Savings          35,927       $3,346,932,005       $977,116          $27
       and Investment
         Plan [WPP
           Group]
           Kaiser            46,943       $3,793,834,091       $1,526,401               $33
         Permanente
        Supplemental
         Savings and
         Retirement
            Plan
        The Rite Aid         31,330       $2,668,142,111        $930,019                $30
         401(k) Plan




  8
   R&A costs in the chart are derived from Schedule C of the Form 5500s and reflect fees paid to
  service providers with a service code of “15” and/or “64,” which signifies recordkeeping fees.
  See Instructions for Form 5500 (2019) at pg. 27 (defining each service code), available at
  https://www .dol.gov/sites/dolgov/files/EBSA/employers-and-advisers/plan-administration-and-
  compliance/ reporting-and-filing/form-5500/2019-instructions.pdf.


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        107.     Thus, Defendants should have been able to negotiate a recordkeeping cost

  anywhere from $21 per participant to $33 from the beginning of the Class Period to the present.

  Defendants failed to do so (except for in 2018).

        108.     In sum, given the size of the Plan’s assets during the Class Period and total number

  of participants, in addition to the general trend towards lower recordkeeping expenses in the

  marketplace as a whole, Defendants could have obtained for the Plan recordkeeping services that

  were comparable to or superior to the typical services provided by the Plan’s recordkeeper at a

  lower cost. Defendants failed to do so and, as a result, violated their fiduciary duties under ERISA.

        109.     Finally, as stated above, the Plan has nearly $220 million of assets. This is Plan

  participant money. Upon information and belief, Defendants agreed that anytime Plan participants

  deposit or withdraw money from their individual accounts, that the money will first pass through

  a Prudential clearing account.

        110.     Upon information and belief, Defendants agreed Prudential could keep all of the

  interest earned on Plan participant accounts while participant money is in Prudential’s clearing

  account. This is a form of indirect compensation that Prudential receives as the recordkeeper for

  the Plan. However, Prudential has not tracked, monitored, or negotiated the amount of

  compensation Prudential receives from income it earns on Participant money. Defendants

  breached their fiduciary duty of prudence by allowing Prudential to receive compensation from

  Plan participants without even knowing the amount of compensation Prudential collects from

  interest on participant money.

                                  FIRST CLAIM FOR RELIEF
                              Breaches of Fiduciary Duties of Prudence

        111.     Plaintiff re-alleges and incorporates herein by reference all prior allegations in this

  Complaint as if fully set forth herein.



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        112.     As a fiduciary of the Plan, Defendants were subject to the fiduciary duties imposed

  by ERISA § 404(a), 29 U.S.C. § 1104(a). These fiduciary duties included managing the Plan’s

  fees and assets for the sole and exclusive benefit of Plan participants and beneficiaries, and acting

  with the care, skill, diligence, and prudence under the circumstances that a prudent person acting

  in a like capacity and familiar with such matters would use in the conduct of an enterprise of like

  character and with like aims.

        113.     Defendants breached these fiduciary duties in multiple respects as discussed

  throughout this Complaint. Defendants did not make decisions regarding the Plan’s investment

  lineup based solely on the merits of each investment and what was in the interest of Plan

  participants and consistent with the ISP. Instead, Defendants selected and retained investment

  options in the Plan despite the high cost of the funds in relation to other comparable investments.

  Defendants also failed to investigate the availability of lower-cost share classes of certain mutual

  funds in the Plan. In addition, Defendants failed to monitor or control the grossly excessive

  compensation paid for recordkeeping services.

        114.     As a direct and proximate result of the breaches of fiduciary duties alleged herein,

  the Plan suffered millions of dollars of losses due to excessive costs and lower net investment

  returns. Had Defendants complied with their fiduciary obligations, the Plan would not have

  suffered these losses, and Plan participants would have had more money available to them for their

  retirement.

        115.     Pursuant to 29 U.S.C. § 1109(a) and 1132(a)(2), Defendants are liable to restore to

  the Plan all losses caused by its breaches of fiduciary duties, and also must restore any profits

  resulting from such breaches. In addition, Plaintiff is entitled to equitable relief and other

  appropriate relief for Defendants’ breaches as set forth in their Prayer for Relief.




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                                  SECOND CLAIM FOR RELIEF
                 Failure to Adequately Monitor Other Fiduciaries and Service Providers

        116.       Plaintiff re-alleges and incorporates herein by reference all prior allegations in this

  Complaint as if fully set forth herein.

        117.       Defendants are the named fiduciary with the overall responsibility for the control,

  management, and administration of the Plan, in accordance with 29 U.S.C. §1102(a). Defendants

  are the Plan Administrator of the Plan under 29 U.S.C. §1002(16)(A)(i) with exclusive

  responsibility and complete discretionary authority to control the operation, management and

  administration of the Plan, with all powers necessary to enable it to properly carry out such

  responsibilities, including the selection and compensation of the providers of administrative

  services to the Plan and the selection, monitoring, and removal of the investment options made

  available to participants for the investment of their contributions and provision of their retirement

  income.

        118.       Given that Defendants had the overall responsibility for the oversight of the Plan,

  Defendants had a fiduciary responsibility to monitor the performance of the other fiduciaries and

  service providers, including those delegated fiduciary responsibility to administer and manage

  Plan assets.

        119.       A monitoring fiduciary must ensure that its monitored fiduciaries and service

  providers are performing their obligations, including those with respect to the investment and

  holding of plan assets, and must take prompt and effective action to protect the plan and

  participants when they are not.

        120.       Defendants breached their fiduciary monitoring duties by, among other things:




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                 A.      Failing to monitor its appointees, to evaluate their performance, or to have

  a system in place for doing so, and standing idly by as the Plan suffered losses as a result of its

  appointees’ imprudent actions and omissions with respect to the Plan;

                 B.      Failing to monitor its appointees’ fiduciary process, which would have

  alerted any prudent fiduciary to the potential breach because of the excessive administrative and

  investment management fees and consistent underperformance of Plan investments in violation of

  ERISA;

                 C.      Failing to ensure that the monitored fiduciaries and service providers had a

  prudent process in place for evaluating the Plan’s administrative fees and ensuring that the fees

  were competitive, including a process to identify and determine the amount of all sources of

  compensation to the Plan’s recordkeepers and the amount of any revenue sharing payments; a

  process to prevent the recordkeepers from receiving revenue sharing that would increase the

  recordkeepers’ compensation to unreasonable levels even though the services provided remained

  the same; and a process to periodically obtain competitive bids to determine the market rate for

  the services provided to the Plan;

                 D.      Failing to ensure that the monitored fiduciaries and service providers

  considered the ready availability of comparable and better performing investment options that

  charged significantly lower fees and expenses than the Plan’s mutual fund and insurance company

  variable annuity options; and

                 E.      Failing to remove appointees whose performance was inadequate in that

  they continued to maintain imprudent, excessive cost, and poorly performing investments, all to

  the detriment of Plan participants’ retirement savings.




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        121.     Had Defendants discharged their fiduciary monitoring duties prudently as

  described above, the losses suffered by the Plan would have been minimized or avoided. Therefore,

  as a direct result of the breaches of fiduciary duty alleged herein, the Plan, the Plaintiff, and the

  other Class Members lost millions of dollars of retirement savings.

                                       PRAYER FOR RELIEF

         For these reasons, Plaintiff, on behalf of the Plan and all similarly situated Plan participants

  and beneficiaries, respectfully request that the Court:

         1.      Find and declare that the Defendants have breached their fiduciary duties as

  described above;

         2.       Find and adjudge that Defendants are personally liable to make good to the Plan

  all losses to the Plan resulting from each breach of fiduciary duties, and to otherwise restore the

  Plan to the position it would have occupied but for the breaches of fiduciary duty;

         3.      Determine the method by which Plan losses under 29 U.S.C. §1109(a) should be

  calculated;

         4.      Order Defendants to provide all accountings necessary to determine the amounts

  Defendants must make good to the Plan under §1109(a);

         5.      Remove the fiduciaries who have breached their fiduciary duties and enjoin them

  from future ERISA violations;

         6.      Surcharge against Defendants and in favor of the Plan all amounts involved in any

  transactions which such accounting reveals were improper, excessive and/or in violation of

  ERISA;

         7.      Reform the Plan to include only prudent investments;




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         8.     Reform the Plan to obtain bids for recordkeeping and to pay only reasonable

  recordkeeping expenses;

         9.     Certify the Class, appoint the Plaintiff as class representatives, and appoint their

  counsel as Class Counsel;

         10.    Award to the Plaintiff and the Class their attorney’s fees and costs under 29 U.S.C.

  §1132(g)(1) and the common fund doctrine;

         11.    Order the payment of interest to the extent it is allowed by law; and

         12.    Grant other equitable or remedial relief as the Court deems appropriate.


         DATED this 16th day of September 2022.

                                              Respectfully submitted,


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